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FORM b9a_7cna (Chapter 7 Individual or Joint Debtor No Asset Case) (12/03)                                       Case Number 05−11593−EEB
                                     UNITED STATES BANKRUPTCY COURT
                                              District of Colorado


        Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
       A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 1/31/05.

 You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
 All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
 bankruptcy clerk's office cannot give legal advice.
                                    See Reverse Side For Important Explanations.
 Debtor(s) (name(s) used by the debtor(s) in the last 6 years, including married, maiden, trade, and address):
 Anthony Lee Romero                                                      Elizabeth Joan Romero
 2303 S. Vaughn Way                                                      fka Elizabeth Blair
 #413                                                                    2303 S. Vaughn Way
 Aurora, CO 80014                                                        #413
                                                                         Aurora, CO 80014
 Case Number:                                                            Social Security/Taxpayer ID Nos.:
 05−11593−EEB                                                            xxx−xx−0590
                                                                         xxx−xx−8952
 Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
 Thomas R. Kutz                                                          M. Stephen Peters
 P.O. Box 22403                                                          3760 Vance St.
 Denver, CO 80222                                                        Ste. 200
 Telephone number: (303)830−1965                                         Wheat Ridge, CO 80033
                                                                         Telephone number: ( ) 303−422−8501

                                                       Meeting of Creditors:
 Date: February 25, 2005                                        Time: 01:30 PM
 Location: U.S. Custom House, 721 19th St., Room 125, Denver, CO 80202

                                                                Deadlines:
                             Papers must be received by the bankruptcy clerk's office by the following deadlines:

 Deadline to File a Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain
                                                Debts: 4/26/05

                                                  Deadline to Object to Exemptions:
                                        Thirty (30) days after the conclusion of the meeting of creditors.

                                        Creditors May Not Take Certain Actions:
 The filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's property.
 If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized.

              Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
 Address of the Bankruptcy Clerk's Office:                                                        For the Court:
 US Bankruptcy Court                                                     Clerk of the Bankruptcy Court:
 US Custom House                                                         Bradford L. Bolton
 721 19th St.
 Denver, CO 80202−2508
 Telephone number: 303−844−4045
 Hours Open: Monday − Friday 8:00 AM − 5:00 PM                           Date: 1/31/05
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                                                          EXPLANATIONS                                                          FORM B9A (9/97)

Filing of Chapter 7      A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.

Appointment of           The person designated as Bankruptcy Trustee on the front side of this form has been selected as Interim Trustee of
Interim Trustee          the estate of the captioned debtor(s) and the trustee's previously−filed blanket bond is approved. Unless another
                         trustee is elected at the meeting of creditors, the trustee shall serve without further appointment or qualification. The
                         trustee is deemed to have accepted the appointment, unless the trustee notifies the Court and the U. S. Trustee in
                         writing of any rejection within five days after receipt of notice of selection.

Creditors May Not        Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
Take Certain Actions     contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
                         obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                         and garnishing or deducting from the debtor's wages.
Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.
Proof of Identity        Important notice to individual debtors: Effective January 1, 2002, all individual debotors must provide picture
                         identification and proof of social security number to the trustee at the meeting of creditors. failure to do so may
                         result in your case being dismissed.

Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4),
                         (6), or (15), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office by the "Deadline to File a
                         Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts" listed on the
                         front side. The bankruptcy clerk's office must receive the complaint and the required filing fee by that Deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objection by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. You may want to consult an attorney to protect
                         your rights.


                         −− Refer to Other Side for Important Deadlines and Notices −−
